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                     UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF MICHIGAN
                          __________________


SAMANTHA NEWELL,                                 Case No: 1:cv-19

      Plaintiff,                                 Hon.

v.


CENTRAL MICHIGAN UNIVERSITY
BOARD OF TRUSTEES, CENTRAL
MICHIGAN UNIVERSITY, and
DEBORAH SILKWOOD-SHERER,

      Defendants.

 Benjamin W. Mills (P66155)
 Gruel Mills Nims & Pylman PLLC
 Attorneys for Plaintiff
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 Grand Rapids, MI 49503
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                        COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff, Samantha Newell, by and through her attorneys,

Gruel Mills Nims & Pylman, PLLC, and hereby alleges and states as follows for her

Complaint:
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     1.     This is an action for prospective relief and damages arising under the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.; Section 504 of the

Rehabilitation Act, 29 U.S.C. § 701 et seq.; the Michigan Persons with Disabilities

Civil Rights Act, MCL § 37.1101 et seq.; and Section 1983 of the Civil Rights Act,

42 U.S.C. § 1983.

     2.     Plaintiff Samantha Newell is a citizen of the State of Michigan and at

all relevant times has been domiciled in Michigan.

     3.     Defendant Central Michigan University is an accredited public

educational institution, established under and regulated pursuant to the laws of the

State of Michigan, and located in the City of Mount Pleasant, County of Isabella,

State of Michigan.

     4.     Upon information and belief, Deborah Silkwood-Sherer is a resident of

the State of Michigan and at all relevant times has been domiciled in the City of

Holt, County of Ingham, State of Michigan.

     5.     This Court has original subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1331, as Plaintiff seeks redress pursuant to the laws of the

United States, specifically the Americans with Disabilities Act, the Rehabilitation

Act, and the Civil Rights Act.

     6.     This Court possesses supplemental jurisdiction over Plaintiff’s state

law claims pursuant to 28 U.S.C. § 1367, as such claims stem from the same facts


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that give rise to the federal claims over which this Court has original jurisdiction,

and thus are so related that they form part of the same case or controversy.

      7.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(1)

and (2) because all defendants are residents of Michigan and Central Michigan

University is located in this judicial district, and a substantial part of the events and

omissions giving rise to the claim occurred in this judicial district.

                           COMMON ALLEGATIONS

      8.     Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

      9.     At all times relevant to this Complaint, Plaintiff has suffered from a

genetic physiological disorder/condition marked by hypermobility/hyperflexibility,

joint instability and pain, hypotonia, weakness, anatomical abnormalities, learning

and cognitive disabilities, and sensory processing issues. Her condition reflects

hypotonic cerebral palsy and a rare form of Marfan syndrome.

      10.    Plaintiff’s condition impacts her respiratory and musculoskeletal

systems, cognitive and sensory functions, and ability to perform vigorous or taxing

physical activities and manual tasks.

      11.    Plaintiff was accepted to Central Michigan University’s Graduate

Program in Physical Therapy through an early decision process and began classes in

May of 2016.


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     12.      Deborah Silkwood-Sherer is the director of CMU’s Graduate Program

in Physical Therapy.

     13.      Prior to accepting Plaintiff as a student, CMU had knowledge of

Plaintiff’s physical condition, limitations, and need for accommodations; Plaintiff

met with Director Silkwood-Sherer prior to applying for the program to discuss her

condition, and Plaintiff’s application essay described how she had overcome

challenges caused by her condition.

     14.      At no time was Plaintiff asked to undergo a physical examination or

evaluation.

     15.      Director Silkwood-Sherer told Plaintiff that other students with

disabilities had been granted accommodations and were successful in the physical

therapy program at CMU, including a blind student.

     16.      Plaintiff’s own treating physical therapists told her she could be a

qualified physical therapist despite her disability if she chose to work in certain

practice areas.

     17.      CMU’s Graduate Program in Physical Therapy Student Handbook

instructs disabled students to seek accommodations as follows:

      Students who have a disability that requires accommodations to participate in
      class activities or meet course requirements should register with the Office of
      Student Disability Services, in Park Library 120, telephone (989) 774-3018.
      The staff of that office will help determine what accommodations need to be
      made to assist the student. The Office of Student Disability Services will then


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       inform the faculty members of the accommodations needed and assist them in
       obtaining the needed resources.

      18.       Plaintiff promptly registered with CMU’s Office of Student Disability

Services upon beginning the graduate program and provided all requested medical

documentation of her disability.

      19.       Plaintiff was approved to live in housing designated for students with

disabilities.

      20.       By reason of her disability, Plaintiff was granted academic

accommodations which provided extra time to take examinations and allowed her to

use a private testing room.

      21.       In the fall 2016 semester, one of Plaintiff’s required courses was Patient

Care Lab, which was taught by Dr. Elaine Betts and Dr. Timothy Zipple. The course

required that students regularly experience electrical stimulation (“e-stim”)

treatments.

      22.       The electrical stimulation treatments caused Plaintiff to experience

headaches, fatigue, confusion, inability to concentrate, insomnia, lack of appetite,

memory problems, executive function issues, and amplified emotions due to her

preexisting sensory processing issues related to her disorder.

      23.       Plaintiff requested an accommodation regarding the electrical

stimulation treatments through Student Disability Services, which arranged a

meeting with Director Silkwood-Sherer.
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     24.     Director Silkwood-Sherer denied Plaintiff an accommodation

regarding the electrical stimulation on the basis that she personally did not believe

that the problems Plaintiff was experiencing were caused by the interaction of her

disability with the electrical stimulation treatments.

     25.     Director Silkwood-Sherer told Plaintiff that rather than work through

SDS to obtain accommodations, Plaintiff was required to meet individually with

each professor and ask if the professor would agree to one of Director Silkwood-

Sherer’s suggested possible accommodations.

     26.     Dr. Betts refused to grant Plaintiff an accommodation regarding the

electrical stimulation treatments because she did not believe that electrical

stimulation interacted with Plaintiff’s disorders in the manner Plaintiff reported.

     27.     Prior to the final exam in Patient Care Lab, Plaintiff sought assistance

from SDS to avoid having electrical stimulation treatments applied to her during the

final exam. The accommodation was granted informally. Other requested

accommodations were denied.

     28.     On December 22, 2016, Plaintiff received an email from the SDS

director, Lynne L’Hommedieu, instructing Plaintiff to go directly to her professors

and Director Silkwood-Sherer to request any additional accommodations in the

future rather than working through SDS.




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     29.     In January 2017, Plaintiff emailed a letter to her professors regarding

her need for accommodations. Plaintiff suggested as possible accommodations:

changes to attendance requirements, the provision of lecture materials ahead of class,

provision of a note-taker, provision of video recordings of the instructions in labs,

additional time with the professor, additional time to formulate answers in group

evaluations and activities, the use of noise-cancelling headphones during testing,

breaks during testing, and modifications to physical modalities or treatments that

were harmful due to her physical condition.

     30.     The accommodations Plaintiff suggested in her letter were based on

recommendations made by Plaintiff’s neuro-psychologist, Dr. Rochelle Manor.

     31.     Plaintiff met individually with some of her professors regarding the

requested accommodations. The individual professors granted in part and denied in

part the accommodations Plaintiff suggested in her January letter, leaving Plaintiff

with an inconsistent patchwork of accommodations among her courses. The granted

accommodations were inconsistently provided.

     32.     In the winter/spring 2017 semester, Plaintiff’s required courses

included PTH 636 - Exam and Diagnosis, PTH 646 - Patient Care II, PTH 672 -

Clinical Anatomy and Kinesiology of Human Joints, and PTH 633 - Clinical

Education I. Each of these courses required that students perform and receive certain

physical mobilizations, stretches, and other treatments.


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      33.     Due to Plaintiff’s disorder, particularly her hypotonia (low muscle tone)

and hypermobile joints, joint mobilizations and other treatments are contraindicated

and present significant risk of irreversible physical injury. Specifically, such

treatments can over-stretch a hypermobile joint and cause permanent damage to

connective tissues, soft tissue entrapment in the joint or impingement, muscle

spasms and guarding, subluxation or dislocation of the joint, and chronic increased

joint instability leading to future injuries.

      34.     On several occasions using various methods of communication,

Plaintiff requested from her professors the accommodation that joint mobilizations

and other harmful treatments not be performed on her.

      35.     Plaintiff’s professors denied the requested accommodation that she not

be subjected to joint mobilizations and other treatments.

      36.     Plaintiff was led to believe that she was required to endure the joint

mobilizations and other treatments to stay in the physical therapy program, and

therefore the consequence of refusing the harmful procedures was loss of the ability

to pursue her chosen profession at great financial cost.

      37.     During much of the winter/spring 2017 semester, professors and other

students performed joint mobilizations, stretches, and other treatments on Plaintiff

to the same extent that such treatments were done on non-disabled students.




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     38.     Plaintiff’s student partners were often reluctant to perform

mobilizations and other treatments on Plaintiff because they knew such treatments

could easily injure her. In some instances, students performing treatments on

Plaintiff readily noticed that Plaintiff’s joints moved too easily and beyond normal

range of motion, were easily overstretched, and could be obviously damaged with

little force. As a result, some students refused to perform treatments on her.

     39.     Plaintiff suffered significant injury due to the joint mobilizations,

stretches, and other treatments being performed on her from January through April

2017, including but not limited to:

             a. Injuries to her hips, including bilateral partial tears of the hip labra
                and psoas tendonitis, requiring surgical repair and causing early
                osteo-arthritis;

             b. Aggravation of previous soft tissue, ligament, and tendon injuries to
                her shoulders and increased instability;

             c. An ankle sprain;

             d. Muscle spasms and guarding due to thoracic mobilizations;

             e. Injury to her wrists causing permanent increased instability,
                requiring Plaintiff to wear wrist braces for any strenuous activity in
                the future; and

             f. Other soft tissue damage causing polyarthralgia in her wrists,
                ankles, knees, spine, and shoulders.

     40.     Due to ongoing pain and injuries from the mobilizations and other

treatments, Plaintiff continued to seek the accommodation that such maneuvers not


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be performed on her from her individual professors as the winter/spring 2017

semester continued.

     41.    Plaintiff reported to Dr. Zipple and Director Silkwood-Sherer that she

had been injured by Dr. Zipple during a class exercise.

     42.    In mid-March 2017, in contradiction of prior direction given to

Plaintiff, Plaintiff’s advisor, professor Jan Perkins, and Director Silkwood-Sherer

told Plaintiff that the faculty could not grant her new accommodations, but that any

accommodations must be approved through SDS.

     43.    In a response email, Plaintiff expressed her confusion and lack of

understanding as to the appropriate process for obtaining accommodations. Plaintiff

requested an accommodations meeting to discuss her disability and the

accommodations she needed.

     44.    Director Silkwood-Sherer instituted disciplinary proceedings against

Plaintiff for alleged professionalism issues. The purported lack of professionalism

stemmed solely from Plaintiff’s attempts to obtain accommodations from her

professors, her confusion regarding the appropriate process to do so, and the

consequences of the denial of accommodations she needed. Plaintiff was issued a

written warning.




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     45.    Due to the pending disciplinary action, Plaintiff refrained from

requesting accommodations and tried to tolerate the mobilizations and other

treatments that were harming her in March 2017.

     46.     On March 27, 2017, one of Plaintiff’s treating doctors, Dr. Cynthia

DeMeester, wrote a letter in support of Plaintiff’s requested accommodations to

Director Silkwood-Sherer and SDS Director L’Hommedieu.

     47.    On March 28, 2017, Plaintiff attended a purported disciplinary behavior

expectations meeting intended to address the alleged professionalism issues. The

meeting was attended by Director Silkwood-Sherer, Dr. Perkins, and SDS Director

L’Hommedieu.

     48.    Plaintiff sought to bring an attorney to the disciplinary meeting, but was

told that lawyers were not allowed to attend. Director Silkwood-Sherer additionally

warned and discouraged Plaintiff not to get an attorney involved.

     49.    During the March 28 meeting, Plaintiff’s accommodation requests were

discussed and conflated with the purported behavioral issues.

     50.    Plaintiff’s   accommodation      requests   were    denied    based    on

misinformation, speculation, generalizations, and stereotypes about disabled people

and discriminatory animus.

     51.    Director Silkwood-Sherer was largely responsible for the denial of

Plaintiff’s requested accommodations. She exhibited insensitivity and bias and had


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inadequate training regarding the requirements of the ADA, including how to

fashion reasonable accommodations. Specifically, Director Silkwood-Sherer:

            a. Deliberately discounted Plaintiff’s claims of disability and injury;

            b. Was ignorant of or misinformed regarding Plaintiff’s condition,
               particularly in her belief that faculty could easily “fix” any injuries
               Plaintiff sustained from mobilizations, as evidenced by coercive
               pressure on Plaintiff to “try” and “meet us halfway” by undergoing
               some mobilizations and treatments, when any such treatments, no
               matter how forceful, would likely cause irreversible injury;

            c. Failed to consider and accept information regarding Plaintiff’s
               condition and limitations from Plaintiff’s treating doctors;

            d. Insisted that Plaintiff must be treated exactly the same as non-
               disabled students in all respects;

            e. Made unfounded assumptions and speculations regarding the
               likelihood that accommodations would be denied to Plaintiff in an
               employment setting;

            f. Placed undue emphasis on the importance of experiencing joint
               mobilizations and other treatments when such action is not required
               for Plaintiff’s licensure or the program’s accreditation, including
               falsely claiming that the Commission on Accreditation in Physical
               Therapy Education prescribed that students be subject to
               mobilizations;

            g. Mischaracterizing Plaintiff’s request to avoid receiving joint
               mobilizations and other treatments as a request to also avoid
               performing such treatments in order to justify denial of the requested
               accommodation;

            h. Refused to consider or grant accommodations to prevent serious
               bodily injury to Plaintiff;

            i. Prohibited Plaintiff from avoiding joint mobilizations and other
               treatments when other students, including pregnant women and
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                  those with prior injuries, were previously granted accommodations
                  and modifications to avoid such maneuvers without scrutiny or
                  dispute;

               j. Disciplined Plaintiff for asking her professors that she not receive
                  joint mobilizations and other treatments during class when other
                  students were allowed to ask for such accommodations during class;

               k. Excluded and supplanted the involvement of Student Disability
                  Services and SDS Director L’Hommedieu in the analysis of
                  appropriate accommodations for Plaintiff, in violation of the
                  program’s and university’s written policies;

               l. Failed to clarify or comprehensibly set forth the accommodations
                  process she insisted Plaintiff follow, which contradicted the
                  program’s and university’s written policies regarding
                  accommodations;

               m. Made overtly discriminatory comments regarding the place and
                  treatment of handicapped individuals in society and the use of
                  accommodations in the educational context; and

               n. Exhibited discriminatory intent against Plaintiff in other ways to be
                  revealed during discovery.

     52.       Plaintiff continued to seek accommodations from her professors to

avoid having joint mobilizations and other treatments performed on her through

early April.

     53.       Plaintiff filed a complaint with the Office of Civil Rights and

Institutional Equity (OCRIE) at CMU in early April 2017 regarding the

accommodations process and repeated denial of her requested accommodations.

     54.       Director Silkwood-Sherer instructed Plaintiff that she could not request

accommodations from her professors while the complaint with the OCRIE was
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pending, but that Plaintiff was still expected to fully participate in her courses

without an accommodation addressing joint mobilizations and other harmful

physical exercises and treatments.

     55.     The OCRIE intervened and granted Plaintiff’s request that she not be

subjected to the joint mobilization treatments that were injuring her.

     56.     The OCRIE’s initial inquiry was conducted from about April 6 through

July 7, 2017.

     57.     During the spring and summer of 2017, Plaintiff continued to

experience difficulty in obtaining accommodations, discriminatory treatment, and

harassment regarding her clinical placements due to unwarranted interference by

Director Silkwood-Sherer.

     58.     Plaintiff was assigned to a clinical site in the spring of 2017 that

required heavy patient lifting. She was instructed that CMU had no authority or

ability to grant her accommodations for her clinical experiences. She was further

instructed not to notify the site of her disability or need for accommodations prior to

beginning work there in order to not jeopardize the placement.

     59.     Plaintiff struggled to meet the physical demands of the clinical position

due to the injuries she had sustained from joint mobilizations and other treatments

in her classes and was harassed and teased by employees of the facility regarding




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her lack of strength. This clinical experience was ended early due to Plaintiff’s

inability to perform the physical duties required by the position.

     60.     In late May and early June, Plaintiff submitted letters from her doctor

to the director of clinical education explaining that Plaintiff required additional

accommodations in her clinical programs because she had suffered a number of

recent strains/sprains due to the mobilizations and other treatments.

     61.     Plaintiff met with Director Silkwood-Sherer and representatives of

OCRIE and SDS on July 10, 2017 to discuss her accommodations. Plaintiff

requested that she be able to observe a clinical site prior to being assigned there to

evaluate if she would physically be able to complete the work at that facility.

Director Silkwood-Sherer denied the requested accommodation on the basis that

other students were not allowed to do so.

     62.     In late July, the OCRIE finished its investigation and reached a partial

agreement with Director Silkwood-Sherer granting Plaintiff some additional

accommodations, including a partial lifting accommodation in her clinical

placements, the ability to record classes if the professor and other students give

permission, and working with different combinations of students when performing

maneuvers that would be injurious to Plaintiff to avoid Plaintiff having to endure

such maneuvers.




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      63.     The formal written disciplinary warning against Plaintiff was nullified

following the OCRIE’s investigation.

      64.     Plaintiff’s interactions with Director Silkwood-Sherer continued to be

harassing and hostile through the 2017-2018 school year. In December 2017,

Plaintiff was diagnosed with generalized anxiety disorder and irritable bowel

syndrome due to a significant exacerbation of anxiety caused by her interactions

with Director Silkwood-Sherer.

      65.     In August 2017, Plaintiff was assigned to a second clinical placement

which was made aware of her diagnosis and need for accommodations. Plaintiff was

successful at this clinical site.

      66.     Plaintiff continued to be successful in the physical therapy program

through the 2017-2018 school year with accommodations.

      67.      Plaintiff satisfactorily completed all coursework for CMU’s Graduate

Program in Physical Therapy, earning a 3.67 grade point average.

      68.     Plaintiff is now on medical leave from the physical therapy program

due to the injuries she sustained when professors and other students performed joint

mobilizations, stretches, and other treatments on her during the winter/spring 2017

semester. Plaintiff intends to complete the remaining clinical requirements of the

physical therapy program upon her recovery from these injuries.




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          COUNT I – ADA AND REHABILITATION ACT:
   FAILURE TO GRANT REASONABLE ACCOMMODATIONS (CMU)

      69.     Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

      70.     Central Michigan University is a public institution of higher education

that receives federal financial assistance.

      71.     Pursuant to Section 504 of the Rehabilitation Act and the Americans

with Disabilities Act, Central Michigan University is prohibited from discriminating

against any individual on the basis of disability and must make reasonable

modifications to its policies, practices, or procedures where necessary to avoid

discrimination on the basis of disability.

      72.     Plaintiff has, has a record of having, or is regarded as having a disability

as that word is defined in the ADA, 42 U.S.C. § 12102(1), because she has a physical

and mental impairment that substantially limits one or more of her major life

activities.

      73.     Plaintiff is a qualified individual as defined by the ADA, because with

or without reasonable modifications to the rules, polices, or practices of CMU, she

meets the essential eligibility requirements for participation in the Graduate Program

in Physical Therapy provided by Central Michigan University, a public entity.



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     74.     Specifically, with accommodations, Plaintiff met or exceeded the

Essential Functions and Technical Standards applicable to graduate-level physical

therapy students and completed all of her coursework with a high grade point

average.

     75.     Plaintiff was denied the benefits of or participation in and/or subjected

to discrimination in the Graduate Program in Physical Therapy at Central Michigan

University because of her disability.

     76.     CMU subjected Plaintiff to discrimination by failing to make

reasonable accommodations, breaching its affirmative duty to reasonably

accommodate the known physical or mental limitations of an otherwise qualified

person. Specifically:

             a. CMU knew of plaintiff’s disability and physical and mental
                limitations because Plaintiff timely identified her disability in her
                application materials, to Student Disability Services, to her
                professors, and to Director Silkwood-Sherer, and provided all
                requested supporting medical documentation, including medical
                support for her specific requested accommodations;

             b. The accommodations requested by Plaintiff were reasonable and
                would not have fundamentally altered the nature of the program or
                imposed an undue financial burden on Central Michigan University;
                and

             c. CMU failed to meaningfully engage in the interactive process to
                identify appropriate accommodations, including by failing to engage
                in reasoned deliberation and diligent assessment of available
                accommodation options.



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     77.     CMU administered its accommodations request procedures and

interactive process in a manner that had the effect of discriminating on the basis of

disability, including by:

             a. Failing to develop, follow, and/or disclose a clear and
                understandable procedure for Plaintiff to request and obtain
                accommodations;

             b. Frequently changing the expected process for Plaintiff to request
                accommodations and imposing discipline when Plaintiff followed
                the provided instructions;

             c. Failing to provide documentation or comprehensible instruction
                regarding the process with which Plaintiff was expected to follow to
                request accommodations;

             d. Allowing individuals who had insufficient training, knowledge, or
                experience in Plaintiff’s condition or in fashioning reasonable
                accommodations for disabled individuals to make decisions
                regarding Plaintiff’s accommodations;

             e. Allowing individuals who expressed hostility and bias against
                handicapped students to make decisions regarding Plaintiff’s
                accommodations;

             f. Allowing individual professors to make decisions regarding
                Plaintiff’s accommodations in an ad hoc or patchwork manner;

             g. Excluding Student Disability Services from the reasonable
                accommodations interactive process, in violation of the program’s
                and university’s policies;

             h. Providing conflicting, wrong, or incomplete information to Plaintiff;

             i. Failing to engage in reasoned deliberation and diligent assessment
                of available accommodation options;



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             j. Disregarding medical information and limitations supported by
                Plaintiff’s treating doctors;

             k. Failing to consider a series of alternatives and make a careful,
                thoughtful, rational review of the academic program and its
                requirements;

             l. Conflating Plaintiff’s requests for accommodations with purported
                disciplinary and professionalism issues;

             m. Failing to provide documentation of the reasons for the denials of
                Plaintiff’s requested accommodations;

             n. Ignoring and failing to report or investigate Plaintiff’s disclosures
                that she had been injured by a professor in class;

             o. Causing an unreasonable delay in evaluating and granting
                accommodation requests after Plaintiff timely disclosed her
                disability and her need for accommodations;

             p. Applying heightened standards to Plaintiff’s requests for
                accommodations which were inconsistent with expectations for
                other students who desired to be granted a modification because they
                could be injured by physical therapy methods or techniques;

             q. Repeatedly denying or delaying the provision to Plaintiff of
                reasonable accommodations which did not impact a fundamental
                element of the educational program; and

             r. Other practices and procedures to be revealed during discovery.

     78.     Judicial deference to CMU’s academic decisions is not appropriate

because CMU did not exhibit reasoned consideration or professional judgment, but

rather acted on stereotypes, speculation, and bias against disabled individuals.

     79.     CMU’s failure to timely make reasonable accommodations and its

method of administering the accommodations process as described above constitute
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discrimination on the basis of disability in violation of the ADA, 42 U.S.C. § 12132,

42 U.S.C. § 12182(b)(1)(D), (b)(2)(A)(ii); and Section 504 of the Rehabilitation Act,

29 U.S.C. § 794(a).

     80.     CMU intentionally violated Plaintiff’s rights under the ADA and

Rehabilitation Act with malice and/or reckless indifference to Plaintiff’s federally-

protected rights.

     81.     As a direct and proximate result of CMU’s discrimination on the basis

of disability, Plaintiff has sustained significant injuries and damages, including but

not limited to serious permanent physical injury and resulting pain and suffering,

need for surgery, medical bills, future impact to her physical abilities, and delay in

completion of her academic studies, causing lost opportunity for earnings; costs of

bringing this action; past and future emotional distress, mental anguish, loss of

enjoyment of life, and other financial and nonpecuniary damages.

              COUNT II – ADA AND REHABILITATION ACT:
                 RETALIATORY HARASSMENT (CMU)

     82.     Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

     83.     Pursuant to Section 504 of the Rehabilitation Act and the Americans

with Disabilities Act, Defendants are prohibited from discriminating against an

individual on the basis of disability by retaliating against an individual for the

exercise of statutorily-protected rights.
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     84.     Plaintiff engaged in a protected activity under the ADA and

Rehabilitation Act when she requested reasonable accommodations.

     85.     CMU, through the actions of Director Silkwood-Sherer, engaged in

severe and/or pervasive harassing conduct in retaliation for Plaintiff’s exercise of a

protected activity as described above, including but not limited to:

             a. Issuing an unfounded written disciplinary warning based on
                Plaintiff’s attempts to request accommodations;

             b. Disparaging Plaintiff to others;

             c. Accusing Plaintiff of faking or exaggerating her injuries and/or
                disability;

             d. Scrutinizing the academic performance and attendance of Plaintiff
                more than other students;

             e. Interfering with Plaintiff’s clinical placements;

             f. Abusive verbal behavior; and

             g. Other actions described herein and to be revealed during discovery.

     86.     The retaliatory harassment described above was likely to have deterred

or dissuaded a reasonable person from making or supporting accommodation

requests or other activities protected by the ADA and Rehabilitation Act and did

deter Plaintiff from making accommodation requests.

     87.     This retaliatory harassment constitutes discrimination on the basis of

disability in violation of the ADA, 42 U.S.C. § 12203 and Section 504 of the

Rehabilitation Act, 29 U.S.C. § 794(a).
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     88.      As a direct and proximate result of CMU’s discrimination on the basis

of disability, Plaintiff sustained the damages set forth above.



              COUNT III – ADA AND REHABILITATION ACT:
                         INTERFERENCE (CMU)

     89.      Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

     90.      Pursuant to Section 504 of the Rehabilitation Act and the Americans

with Disabilities Act, Defendants are prohibited from discriminating against an

individual on the basis of disability by coercing, intimidating, threatening, or

otherwise interfering with any person’s exercise or enjoyment of any rights granted

by the ADA.

     91.      CMU, by the actions of Director Silkwood-Sherer, subjected Plaintiff

to coercion, threats, intimidation, and/or interference with the exercise or enjoyment

of her ADA rights because Plaintiff requested accommodations, including but not

limited to:

              a. Deliberately interfering with the accommodations process as
                 described in Count I of this Complaint;

              b. Issuing an unfounded written disciplinary warning based solely on
                 Plaintiff’s attempts to request accommodations;

              c. Scrutinizing the academic performance and attendance of Plaintiff
                 more than other students;


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             d. Interfering with Plaintiff’s clinical placements;

             e. Engaging in abusive verbal behavior;

             f. Attempting to coerce Plaintiff to forego an accommodation to which
                she was otherwise entitled;

             g. Intimidating Plaintiff from requesting accommodations by
                indicating that such a request would result in Plaintiff’s dismissal
                from the program or inability to find a job;

             h. Disparaging Plaintiff to others;

             i. Threatening and/or discouraging Plaintiff to refrain from consulting
                with an attorney regarding her rights under the ADA and
                Rehabilitation Act; and

             j. Other actions to be revealed during discovery.

     92.     These coercive, threatening, intimidating, and interfering actions were

reasonably likely to interfere with Plaintiff’s exercise or enjoyment of her ADA and

Rehabilitation Act rights and did interfere with her exercise and enjoyment of her

ADA and Rehabilitation Act rights.

     93.     This interference with Plaintiff’s statutory rights constitutes

discrimination on the basis of disability in violation of the ADA, 42 USC § 12203

and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794(a).

     94.     As a direct and proximate result of CMU’s discrimination on the basis

of disability, Plaintiff sustained the damages set forth above.




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             COUNT IV – ADA AND REHABILITATION ACT:
            HOSTILE EDUCATIONAL ENVIRONMENT (CMU)

     95.     Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

     96.     Pursuant to Section 504 of the Rehabilitation Act and the Americans

with Disabilities Act, Defendants are prohibited from discriminating against an

individual on the basis of disability by creating a educational environment that has

the purpose or effect of unreasonably interfering with the individual’s performance

or of creating an intimidating, hostile, or offensive environment.

     97.     Plaintiff is a member of a protected group because she is a person with

disability as defined by ADA.

     98.     Plaintiff was subjected to severe, pervasive, and objectively offensive

unwelcome harassment based on her disability, as described above, including

discriminatory intimidation, ridicule, insult, and humiliation.

     99.     The discriminatory conduct interfered with Plaintiff’s academic and

clinical performance and caused her to suffer severe anxiety.

     100.    The harassment was so severe, pervasive, and objectively offensive that

it undermined and detracted from her educational experience in a manner that denied

her equal access to the institution’s resources and opportunities.



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     101.    This retaliatory harassment constitutes discrimination on the basis of

disability in violation of the ADA, 42 U.S.C. § 12132 and Section 504 of the

Rehabilitation Act, 29 U.S.C. § 794(a).

     102.    As a direct and proximate result of CMU’s discrimination on the basis

of disability, Plaintiff sustained the damages set forth above.

                           COUNT V – PDCRA (CMU)

     103.    Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

     104.    Plaintiff is a person with a disability as defined by the Persons with

Disabilities Civil Rights Act, MCL 37.1103(d)(i)(C), (h), (l)(iii) because she has

determinable physical and mental characteristics which resulted from a congenital

condition of birth or functional disorder which substantially limit one or more of her

major life activities but are unrelated to her ability to use and benefit from

educational opportunities, programs, and facilities at CMU, as described above.

     105.    CMU is an educational institution as defined by the PDCRA, MCL §

37.1401.

     106.    Pursuant to the PDCRA, MCL 37.1102(2), Central Michigan

University must accommodate a person with a disability for purposes of education

when the accommodation does not impose an undue hardship on the institution.




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      107.    Plaintiff is qualified for the Graduate Program in Physical Therapy and

her disability is unrelated to her ability to use and benefit from the program at CMU.

      108.    The accommodations Plaintiff requested did not impose an undue

hardship on CMU.

      109.    By refusing and delaying the provision of reasonable accommodations

to Plaintiff and failing to administer the accommodations process properly as

described above, CMU’s actions denied Plaintiff the full utilization or benefit of the

institution and its services and otherwise discriminated against her because of her

disability, in violation of the PDCRA, MCL § 37.1402.

      110.    By engaging in disability-based harassment, coercion, intimidation,

threats, and interference with Plaintiff’s statutorily-protected rights, CMU denied

Plaintiff the full utilization or benefit of the institution and its services and otherwise

discriminated against her because of her disability, in violation of the PDCRA, MCL

§ 37.1402.

      111.    By creating and allowing a severe and pervasive hostile educational

environment to exist because of Plaintiff’s disability, CMU denied Plaintiff the full

utilization or benefit of the institution and its services and otherwise discriminated

against her because of her disability, in violation of the PDCRA, MCL § 37.1402.




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     112.     As a direct and proximate result of CMU’s discrimination on the basis

of disability, Plaintiff has sustained significant injuries and damages as described

above.

               COUNT VI – § 1983 (DR. SILKWOOD-SHERER)

     113.     Plaintiff hereby incorporates the above paragraphs as though fully

realleged herein.

     114.     Plaintiff enjoys the constitutionally-protected Due Process right to

personal security, bodily integrity, and freedom from bodily injury under the

Fourteenth Amendment to the United States Constitution.

     115.     Plaintiff’s Due Process right to personal security, bodily integrity, and

freedom from bodily injury is a recognized fundamental constitutional right and was

clearly established at all times relevant to this Complaint.

     116.     At all relevant times, Dr. Silkwood-Sherer was acting within the scope

of her employment and under color of law, to wit, under color of statutes, ordinances,

regulations, policies, customs, and usages of the State of Michigan and/or Defendant

Central Michigan University.

     117.     The acts alleged above amount to a violation of Plaintiff’s clearly

established constitutionally-protected right to bodily integrity and freedom from

bodily injury, of which reasonable persons in Dr. Silkwood-Sherer’s position should

have known.


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     118.    Dr. Silkwood-Sherer was the moving force and cause of repeated

constitutional injuries to Plaintiff based on her failure to grant Plaintiff

accommodations and the application of coercive pressure on Plaintiff to participate

in mobilization and other harmful exercises against her will, thereby subjecting

Plaintiff to invasion of her bodily integrity and bodily injury.

     119.    Dr. Silkwood-Sherer exhibited bad faith and reprehensible conduct that

was not objectively reasonable when she forced Plaintiff to endure harmful physical

mobilizations and other treatments as a condition of continuing her education at

CMU.

     120.    Dr. Silkwood-Sherer is liable in her individual capacity for

compensatory and punitive damages under 42 U.S.C. § 1983.

     121.     As a direct and proximate result of the constitutional violations caused

by Dr. Silkwood-Sherer, Plaintiff suffered the damages described above.

       WHEREFORE, Plaintiff Samantha Newell requests that this honorable Court

enter a judgment on her behalf against Defendants for prospective relief necessary

to allow Plaintiff to complete her educational program and awarding damages to

Plaintiff which a jury determines to be fair and reasonable to compensate her for

these injuries described above, along with damages, including costs, interest, and

reasonable attorney fees incurred and all other appropriate relief.




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                                           GRUEL MILLS NIMS & PYLMAN PLLC


Dated: July 3, 2019                        By: /s/ Benjamin W. Mills
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                               JURY DEMAND

         NOW COMES Plaintiff, Samantha Newell, by and through her attorneys,

Gruel Mills Nims & Pylman, PLLC, and hereby demands a trial by jury in the above

cause.

                                           GRUEL MILLS NIMS & PYLMAN PLLC


Dated: July 3, 2019                        By: /s/ Benjamin W. Mills
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